Case 2:04-cr-20369-BBD Document 32 Filed 05/11/05 Page 1 of 6 PageiD 27
UNITED STATES D|STR|CT COURT
WESTERN D|STR|CT OF TENNESSEE
NiEiViPHiS D|V|S|ON

UN|TED STATES OF AN|ERICA

 

-v- 04-20369-01-D

RODNEY NlAYFlELD
Edwin Perry, FPD
Defense Attorney
200 Jefferson Avenue, Suite 200
iViemphis,Tennessee 38103

 

JUDGN|ENT iN A CR|N||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Counts 1 and 2 of the indictment on January 21, 2005
Accordingiyl the court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Offense Count
Titie & Section MO_TQEB§ Conciuded Number(s)
18 U.S.C. § 922(g) Feion in possession of firearms 10/22/2003 1 and 2

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Niandatory
Victims Fiestitution Act of 1996.

Counts 3 through 5 are dismissed on the motion of the United Stafes.

iT iS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until ali fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 04/21/1972 Aprii 25, 2005
Deft’s U.S. i\/iarsha| No.: 19869-076

Defendantis Residence Address. This document entered on the docket sheet in compliance
456 Tj||man’ #43 with Fiuie 55 and/or 32(b) FRCFP O" ' ' z 'O

i\/iemphis, TN 38112

    

BEF%N|CE B. DONALD
UNITED STATES DiSTR|CT JUDGE

iviay /Z , 2005

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Case No: 04-20369-01-D
Defendant Name: Fiodney i\/iayfieid Page 2 of 5

lNlPRlSONNfENT

The defendant is hereby committed to the custody of the United States Bureau of

Prisons to be imprisoned for a term of seventy-seven (77) months on each count, to run
concurrentlyl

The defendant is remanded to the custody of the United States i\/iarshai.

RETURN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED S'|'ATES iViAFtSi-iAL
By;

 

Deputy U.S. i\/iarshai

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Defendant Name: Rodney N|ayfield Page 3 of 5

SUPEF{V|SED RELEASE

Upon release from imprisonment the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4_ The defendant shall work regularly at a !awful occupation unless excused by the probation officer for
schooling, training, brother acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substancel or any paraphernalia related to such
substances except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally soid, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

91 The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Name: Rodney iV|ayfieid Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11, The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency Without the permission of the court;

12. As directed by the probation officer, the defendant shai| notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance With such
notification requirement

13. if this judgment imposes a fine or a restitution obligationl it shali be a condition ot supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Crirnina| i\/ionetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERVISED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse. Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

2. The defendant shall seek and maintain lawful full-time employmentl

3. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Defendant Name: Fiodney lV|ayfield Page 5 of 5

CR|N||NAL MONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Scheduie of Payrnents. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in fu|i before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Scheduie of Payments may be subject to
penalties for defauit and delinquency pursuant to 18 U.S.C. § 3612(g).

Totai Assessment Totai Fine Totai Ftestitution
$200.00

The Speciai Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON
No Fiestitution was ordered

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 32 in
case 2:04-CR-20369 Was distributed by faX, mail, or direct printing on
May ]2, 2005 to the parties listed.

 

 

Edwin A. Perry

FEDERAL PUBLIC DEFENDER
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Ste. 200

Memphis7 TN 38103

Katrina U. Earley

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

